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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                               )
IN RE: PHARMACEUTICAL INDUSTRY                 )       MDL No. 1456
AVERAGE WHOLESALE PRICE                        )       Master File No. 1:01-CV-12257-PBS
LITIGATION                                     )       Sub-Category Case No. 1:08-CV-11200
                                               )
THIS DOCUMENT RELATES TO:                      )
United States ex rel. Linnette Sun and         )
Greg Hamilton, Relators                        )
                                               )       Judge Patti B. Saris
v.                                             )
Baxter Healthcare Corporation                  )
                                               )

             [PROPOSED] ORDER DISMISSING RELATORS' COMPLAINT
          The Court has considered Baxter Healthcare Corporation’s Motion To Dismiss

Relators’ Complaint and finds and orders as follows:

               1.     The Complaint in this matter makes AWP allegations regarding, inter alia,

the Baxter hemophilia therapy Recombinate. The Complaint was filed on April 22, 2005, with

amended complaints filed June 14, 2005 and August 13, 2010.

               2.     On December 22, 2002, Ven-A-Care filed an amended complaint making

similar AWP allegations regarding Recombinate. The Ven-A-Care Complaint was unsealed in

May 2010.

               3.     All essential facts regarding Recombinate and/or the same allegations of

fraud in this matter were contained in Ven-A-Care’s previously filed Complaint.

               4.     Pursuant to 31 U.S.C. §3730(b)(5), the Court lacks jurisdiction over

Sun/Hamilton’s claims regarding Recombinate and therefore Count 1 of the complaint, as relates

to Recombinate, is dismissed with prejudice.

               5.     Hamilton never worked for Baxter and contributed no information

regarding the allegation of the Complaint except for Recombinate. Because the Court lacks
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jurisdiction over the Recombinate claims, and because Hamilton has no direct or independent

knowledge regarding the remaining Advate claims, Hamilton is dismissed from this case. 31

U.S.C. §3730(b)(5); 31 U.S.C. §3730(e)(4).


 Dated:

                                             Patti B. Saris
                                             United States District Judge




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